                                      Case 22-54412-bem                  Doc 83          Filed 04/24/23 Entered 04/24/23 11:48:24                             Desc
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                                                                                    FORM 1                                                                                                          Page: 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
Case Number:        22-54412 BEM                                                                                    Trustee:                         NEIL C GORDON, TRUSTEE
Case Name:          Dentcorp Management LLC                                                                         Filed (f) or Converted (c):      06/09/22 (f)
                                                                                                                     D 0HHWLQJ'DWH            07/19/22
Period Ending: 12/31/22                                                                                             Claims Bar Date:                 12/21/22

                                        1                                            2                             3                          4                        5                        6
                                                                                                          Estimated Net Value                                                              Asset Fully
                                                                                 Petition/           (Value Determined By Trustee,        Property                Sale/Funds            Administered (FA)/
                                Asset Description                              Unscheduled              Less Liens, Exemptions,         Abandoned                 Received by            Gross Value of
 Ref #               (Scheduled And Unscheduled (u) Property)                     Values                    and Other Costs)         2$  D $EDQGRQ            the Estate           Remaining Assets

  1      Suwanee Assets                                                                  Unknown                         25,000.00                                         25,000.00           FA

TOTALS (Excluding Unknown Values)                                                            $0.00                      $25,000.00                                      $25,000.00                     $0.00
Regarding Property #2 *Funds are commingled. Debtor's share is unknown
Regarding Property #21 Scheduled as negative balance of $819.03.

Major activities affecting case closing:
Timothy Kiser ³Kiser´ initiated a civil action in the Superior Court of Fulton County, Case No. 2021CV355806 (the ³Litigation´ against Freddie Wakefield, Jr., DMD ³F. Wakefield´ Daryl Wakefield ³D.
Wakefield´ collectively, the ³Wakefields´ and Debtor alleging, among other things, that the Wakefields defrauded Kiser into investing in Debtor. On or about January 25, 2022, the Superior Court
entered an Order (the ³Receivership Order´ in the Litigation appointing Christopher Tierney as receiver (the
³Receiver´ to ³manage all necessary operations of the company«´The Receivership Order identified the Receivership Estate as including all ³property and assets of [Debtor] and its corporate affiliates,
wherever located«´On or about May 9, 2022, the Superior Court entered an Order authorizing the Receiver to file a voluntary petition for relief under the United States Bankruptcy Code for Debtor and
its affiliates. On June 9, 2022 (the ³Petition Date´ the Receiver filed a voluntary Chapter 7
petition for Debtor only.

Pursuant to a Practice Assets Sale Agreement entered into December 8, 2020, Debtor and Scott Huynh ³Huynh´ jointly acquired from Robert S. Israel, DDS and Wildwood
Management, LLC a dental practice located at 1230 Satellite Blvd., Suite 100, Suwanee, GA 30024 (the ³Suwanee Practice´ The Bill of Sale and Assignment of the assets and business of the Suwanee
Practice was made jointly to Debtor and Huynh. As part of the transaction, Wildwood Professional Properties, LLC ³Landlord´ entered into a lease with Debtor for the premises at which the Suwanee
Practice operated, a copy of which is attached hereto as Exhibit ³A´(the ³Lease´ Huynh guaranteed Debtor¶s obligation under the Lease. The rent due Landlord under the Lease was approximately
$34,000-$35,000, Huynh desired to cure all defaults under the Lease and assume all obligations thereunder. By motion, Trustee sought approval of the assumption of the Lease and assignment to
Huynh, or an entity owned and controlled by Huynh. Pursuant to Court Order entered October 27, 2022 [Doc. No. 71], the assumption and assignment of the Lease was approved.

Pursuant to a Practice Assets Sale Agreement entered into December 8, 2020 (the ³Sale Agreement´ Debtor and Scott Huynh ³Huynh´ jointly acquired from Robert S. Israel, DDS and Wildwood
Management, LLC a dental practice located at 1230 Satellite Blvd., Suite 100, Suwanee, GA 30024 (the ³Suwanee Practice´ The Bill of Sale and Assignment of the assets and business of the Suwanee
Practice (the ³Suwanee Assets´ was made jointly to Debtor and Huynh (the ³Bill of Sale´ Huynh desired to acquire all of the estate¶s interest in and to the Suwanee Assets acquired under the Sale
Agreement and Bill of Sale. Zions Bancorporation, N.A. ³Zions´ asserted a security interest in and to, among other things, all of the Suwanee Assets pursuant to a Commercial Security Agreement
dated on or about December 4, 2020. By motion, Trustee sought authority to sell to Huynh or an entity owned and controlled by Huynh all of the estate¶s interest in and to the Suwanee Assets for the
price of $25,000 [Doc. No. 59]. The sale was subject to all existing liens and security interests, including the security interest of Zions. Pursuant to Court Order entered October 27, 2022 [Doc. No. 70],
the sale was approved, and the sale proceeds remitted to Trustee. Trustee still investigating assets and transactions.

Initial Projected Date of Final Report (TFR): December 31, 2024                                         Current Projected Date of Final Report (TFR): December 31, 2024

                 April 17, 2023                                                                                           /s/ NEIL C GORDON, TRUSTEE
                      Date                                                                                                NEIL C GORDON, TRUSTEE
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                                                       Cash Receipts and Disbursements Record
Case Number:          22-54412 BEM                                                                Trustee:                NEIL C GORDON, TRUSTEE
Case Name:            Dentcorp Management LLC                                                     Bank Name:              East West Bank
                                                                                                  Account:                ******1548 - Checking
Taxpayer ID#:         ******6248                                                                  Blanket Bond:           $33,665,000.00 (per case limit)
Period:               01/01/22 - 12/31/22                                                         Separate Bond:          N/A

   1            2                      3                                         4                                                 5                    6                   7

 Trans.    Check or                                                                                           Uniform           Receipts          Disbursements         Checking
  Date      Ref. #           Paid To / Received From                 Description of Transaction              Tran. Code            $                    $            Account Balance

08/02/22   Asset #23 Moore Colson                         Turnover of Receivership Funds                     1290-000              27,021.34                               27,021.34

08/31/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       37.26          26,984.08

09/30/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       43.85          26,940.23

10/31/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       43.78          26,896.45

11/21/22   Asset #1   Lamberth, Cifelli, Ellis & Nason,   Suwanee Assets Sale Pursuant to Court Order        1229-000              20,896.34                               47,792.79
                      P.A.                                Entered 10/27/22 (Doc. No. 70)

11/29/22   Asset #1   Lamberth, Cifelli, Ellis & Nason,   Balance Due for Suwanee Assets Sale                1229-000               4,103.66                               51,896.45
                      P.A.                                Pursuant to Court Order Entered 10/27/22
                                                          (Doc. No. 70)

11/30/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       43.78          51,852.67

12/14/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       -37.26         51,889.93

12/14/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       -43.85         51,933.78

12/14/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       -43.78         51,977.56

12/14/22              East West Bank                      Bank and Technology Services Fee                   2600-000                                       -43.78         52,021.34


                                                                                ACCOUNT TOTALS                                     52,021.34                 0.00         $52,021.34
                                                                                   Less: Bank Transfers                                 0.00                 0.00

                                                                                Subtotal                                           52,021.34                 0.00
                                                                                   Less: Payment to Debtors                                                  0.00

                                                                                NET Receipts / Disbursements                     $52,021.34                 $0.00
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             Cash Receipts and Disbursements Record

                                                                  Net            Net         Account
                                  TOTAL - ALL ACCOUNTS          Receipts    Disbursements    Balances
                                  Checking # ******1548         52,021.34            0.00    52,021.34
                                                               $52,021.34           $0.00   $52,021.34
